Paul Price | E22 cd C ‘Da t, fe Che ace Udeom Fi

 

 

 

 

 

Name - _
POB 230328 139¢6 Chectm, te Dr pe 130" DALY
Mailing address oan)
Anchorage, Ak 99523 An. cher a an Ak 750% Pali Me wm Ak Coby ST
City, State, Zip -
202-680-2162 907? -35 0-612 Cb T= 6322-212
Telephone IU > 2x SL ODB
IN THE UNITED STATES DISTRICT COURT IRE CEIVE ID)
FOR THE DISTRICT OF ALASKA UN
MAR 0° 2016
Paul Price, Chatchi Udomporn Ezzard Clerk, U.S. District Court
Batiste - | . r ic hOrats, AK
(Enter full name of plaintiff in this action) Case No. AS (Wo Cy ) (C3 re WM 6
Plaintiff, (To be supplied by Court)
VS.
ief itigations Divisi ; COMPLAINT UNDER
THE CIVIL RIGHTS ACT
ir For I rations Agen ; 42 U.S.C. § 1983
(NON-PRISONERS)
(Enter full names of defendant(s) in this action.
Do NOT use et al.)
Defendant(s).

A. Jurisdiction

Jurisdiction is invoked under 28 U.S.C. § 1343(a)(3) and 42 U.S.C. § 1983. If you
assert jurisdiction under any different or additional authorities, please list them below:

 

B. Parties

1. Plaintiff: This complaint alleges that the civil rights of Paul Price, Chatchi Udomporn,
Ezzard Batiste ,

(print your name)

Who presently resides at: POB 230328, Anchorage, AK 99523
Mailing address

were violated by the actions of the individual(s) named below.

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2. Defendants (Make a copy of this page and provide same information if you are naming more than 3
defendants):

Defendant No. 1, Chief, General Litigation Division is a citizen of
(name)
Joint Base, Andrews, and is employed as an Air Force Legal Operations Agency
(state) (defendant's government position/title)

 

XXX_This defendant personally participated in causing my injury, and | want money
damages.

OR

____ The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

 

Defendant No. 2, is a citizen of
(name)

, and is employed as a
(state) (defendant's government position/title)

This defendant personally participated in causing my injury, and | want money
damages.
OR
____The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

Defendant No. 3, is a citizen of
(name)

, and is employed as a

(state) (defendant's government position/title)

 

This defendant personally participated in causing my injury, and | want money
damages.
OR
____ The policy or custom of this official’s government agency violates my rights, and |
seek injunctive relief (to stop or require someone do something).

C. Causes of Action (You may attach additional pages alleging other causes of action and facts
supporting them if necessary. Make copies of page 5 and rename them pages 5A, 5B, etc. and rename
the claims, “Claim 4,” “Claim 5, etc.”).

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Claim_1: On or about 06/15/2015 , my civil right to
(Date)

Employment discrimination, Title VI], No Fear Act, Equal Pay Act
(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by _ Chief, General Litigation Division, Air Force Legal Operations Agency
(Name of the specific Defendant who violated this right)

 

Supporting Facts (Briefly describe facts you consider important to Claim 1. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 1.):

 

The defendant has overlooked, barred and condoned the consistent application bias for: black,
male, disabled veterans. | attempted to use the EEO process for my complaint but it was
dismissed because of a procedural misstep and “v3.0 of the EEO STAT software” used by many
federal government offices to pro-long and frustrate employees attempting to use the EEO
process. During the EEO process the Department of Veterans never provided the information
requested: “the names, gender, education, veteran and disability status of those employees that
were hired into the positions that | named during the EEO process”. We have not been able to
obtain employment with the agency associated with my military service, my education and
information technology credentials. The information Technology series within government and
private industry has been and is a “top heavy white male” senior level occupation. It has been
extremely depressing and demoralizing to know that the federal government still works in that
realm in spite of Executive Orders issued by several Presidents of the United States, continues to
create environments where the statuesque is well documented and protected.

| would like to request for an appointment to file a class complaint in respect to Agency’s Docket
Numbers Udomporn - 9M0OR10008, 9M0R11001, 9MOR13005; Batiste - 9M0R15004; and Price -
9MOR130003, 9MOR13007 for liked and related claims under Title VIl, EPA, No FEAR Act, ADA,
and Sections 102, 103, 501, and 505:

As veterans, the 673 ABW has violated our civil rights and discriminated against us on the basis of
our race (Thai, Black), color (nonwhite), and national origin (Asian, African American) when it
comes to the terms and conditions of employment policies and practices.

There is no opportunity for career laddering or advancement, training, promotion, bonuses and
awards, overtime, etc., when compared to Caucasian employees. Despite our hard working
efforts, poor performance Caucasian employees continue to be awarded and promoted over
minority employees.

Career ladders are only offered to Caucasian employees without having to demonstrate
progression in the level of performance or have to clearly demonstrate the ability to perform at the
next higher level before being promoted to the next grade.

Training is not provided on an equitable basis when funds are available to ensure the maximum
efficiency in the performance of his/her assigned duties; training and education programs are not
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disseminated widest when they become available; the criteria for approval of training and the
nomination procedures are not briefed; do not receive the training necessary to perform the duties
and/or maintain certification and/or license necessary to current positions; and supervisors do not
determine, provide, evaluate, and document training needs on a fair and equitable basis when
compared to Caucasian employees.

In regards to time and attendance, overtime is not fair and equitable among employees on a
rotating basis and seniority is used as a factor in assigning overtime. When offered, employees are
forced to work overtime against their expressed desires when other qualified employees are willing
to work or already scheduled to work.

When it comes to appraisal, supervisors do not promote a fair and equitable performance
appraisal system that rewards exceptional performance, but instead they reward Caucasian
employees who are mediocre and substandard performers.

Minorities are forced to work in a hostile and toxic work environment with ongoing harassment and
reprisal.

Reprisal--Supervisors and managers retaliate against minorities who complained of unlawful
discrimination with disciplinary and adverse actions as punitive actions to keep silent e.g. repeated
counseling, security clearances and accesses suspended, denied access to facility, removed from
workplace multiple times, subjected to CDI and security investigations, placed on administrative
leave, placed in a different work assignment/position, threaten with suspension without pay (a
proposal to take a personnel action, or other preliminary step to taking a personnel action, is
retaliatory).

Neither the allegations of dissatisfaction regarding the processing of our pending complaints,
whether or not it alleges prohibited discrimination as a basis for dissatisfaction, including that
agency counsel/representatives improperly interfered during the investigation of the complaint, nor
the allegations have been referred to the agency official responsible for the quality of complaints
processing. The Agency has not earnestly attempted to neither resolve our dissatisfactions with
the complaint processing nor add a record of the complainants’ concerns and any actions the
agency took to resolve the concerns, to the complaint file. If no action was taken, the file does not
contain an explanation of the agency’s reason(s) for not taking any action.

 

 

 

 

 

 

 

 

 

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Claim _2: On or about August 13, 2010 , my civil right to
(Date)
Title Vil, No Fear Act, Equal Pay Act
(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)
was violated by Chief, General Litigation Division, Air Force Legal Operations Agency
(Name of the specific Defendant who violated this right)

 

Supporting Facts (Briefly describe facts you consider important to Claim 2. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 2.):

 

| would like to request for an appointment to file a class complaint in respect to Agency's Docket
Numbers Udomporn - 9MOR10008, 9M0R11001, 9MOR13005; Batiste - 9MOR15004; and Price -
9MOR130003, 9MOR13007 for liked and related claims under Title Vil, EPA, No FEAR Act, ADA,
and Sections 102, 103, 501, and 505:

As veterans, the 673 ABW has violated our civil rights and discriminated against us on the basis of
our race (Thai, Black), color (nonwhite), and national origin (Asian, African American) when it
comes to the terms and conditions of employment policies and practices.

There is no opportunity for career laddering or advancement, training, promotion, bonuses and
awards, overtime, etc., when compared to Caucasian employees. Despite our hard working
efforts, poor performance Caucasian employees continue to be awarded and promoted over
minority employees.

Career ladders are only offered to Caucasian employees without having to demonstrate
progression in the level of performance or have to clearly demonstrate the ability to perform at the
next higher level before being promoted to the next grade.

Training is not provided on an equitable basis when funds are available to ensure the maximum
efficiency in the performance of his/her assigned duties; training and education programs are not
disseminated widest when they become available; the criteria for approval of training and the
nomination procedures are not briefed; do not receive the training necessary to perform the duties
and/or maintain certification and/or license necessary to current positions; and supervisors do not
determine, provide, evaluate, and document training needs on a fair and equitable basis when
compared to Caucasian employees.

In regards to time and attendance, overtime is not fair and equitable among employees on a
rotating basis and seniority is used as a factor in assigning overtime. When offered, employees are
forced to work overtime against their expressed desires when other qualified employees are willing
to work or already scheduled to work.

When it comes to appraisal, supervisors do not promote a fair and equitable performance
appraisal system that rewards exceptional performance, but instead they reward Caucasian

employees who are mediocre and substandard performers.
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Minorities are forced to work in a hostile and toxic work environment with ongoing harassment and
reprisal.

Reprisal--Supervisors and managers retaliate against minorities who complained of unlawful
discrimination with disciplinary and adverse actions as punitive actions to keep silent e.g. repeated
counseling, security clearances and accesses suspended, denied access to facility, removed from
workplace multiple times, subjected to CDI and security investigations, placed on administrative
leave, placed in a different work assignment/position, threaten with suspension without pay (a
proposal to take a personnel action, or other preliminary step to taking a personnel action, is
retaliatory).

Neither the allegations of dissatisfaction regarding the processing of our pending complaints,
whether or not it alleges prohibited discrimination as a basis for dissatisfaction, including that
agency counsel/representatives improperly interfered during the investigation of the complaint, nor
the allegations have been referred to the agency official responsible for the quality of complaints
processing. The Agency has not earnestly attempted to neither resolve our dissatisfactions with
the complaint processing nor add a record of the complainants’ concerns and any actions the
agency took to resolve the concerns, to the complaint file. If no action was taken, the file does not
contain an explanation of the agency’s reason(s) for not taking any action.

 

 

 

 

 

 

 

 

 

 

 

 

 

 

 

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Claim_3: On or about June 1, 2015 , my civil right to
(Date)

Title Vil, No Fear Act, Equal Pay Act, Employment Discrimination

(due process, freedom of religion, free speech, freedom of association and/or assembly, freedom from cruel and
unusual punishment, etc. List only one violation.)

 

was violated by Chief, General Litigation Division, Air Force Legal Operations Agency
(Name of the specific Defendant who violated this right)

Supporting Facts (Briefly describe facts you consider important to Claim 3. State what
happened briefly and clearly, in your own words. Do not cite legal authority or argument.
Describe exactly what each defendant, by name, did to violate the right alleged in Claim 3.):

 

Was Complainant discriminated against on the basis of disability (physical) when:

On February 8, 201 |, Lieutenant Colonel (Lt Col) Mark Snow directed Complainant to carry computer
equipment between floors without material handling support (claim 2a);

In November 2012, his workstation was disassembled while he was out office (claim

In 2011, the 673 Air Base Wing (ABW) Judge Advocate (JA) Office recommended Lt Col Mark Snow remove
Complainant's AF Form 680 Performance Appraisal for the reporting period

In 2012, the ABW/JA Office recommended Lt Col Kim Taylor remove Complainant's AF Form 680
Performance Appraisal for the reporting period

From November20J2 to February 18, 2015, and on April 16, 2015, the Civilian Personnel Office required
Complainant to complete four physical health exams;

Was Complainant was discriminated against on the basis of race (African-American), color (black), national
origin (African American), age (64/born 1950), disability (physical), and reprisal (prior EEO activity, May
2000) when on April 20, 2012, Lt Col Snow issued Complainant a Notice of Proposed Complainant
discriminated against and subjected to a hostile work environment on the basis of race (African-American),
color (black), National origin (African American), disability (physical) when in November 2013, Lt Col Taylor
berated Complainant at the Customer Service Counter); Was Complainant was discriminated against on the
basis of race (African-American), color (black), national origin (African American), disability (physical) when:

On March 12, 2013, Lt Col Scott O'Malley cancelled Complainant's network access; In 2013, Senior Master
Sergeant (SMSgt) Thomas Temple deducted two hours of Complainant's leave); In July 2013 Lt Col Kelly
Sams advised the Civilian Personnel Office to non-select Complainant for the Quartermaster Laundry GS-12
supervisory position); On January 13, 2014, the Civilian Personnel Office reassigned him to a 673rd
Communications Squadron, Plans and Programs, GS-2210-11 position)

 

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D. Previous Lawsuits

1. Have you begun other lawsuits in state or federal court dealing with the same facts
involved in this action, or otherwise relating to your imprisonment? Yes XXX_No

2. If your answer is “Yes,” describe each lawsuit.
a. Lawsuit 1:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

b. Lawsuit 2:

Plaintiff(s):

 

Defendant(s):

 

Name and location of court:

 

 

Docket number: Name of judge:
Approximate date case was filed: Date of final decision:
Disposition: Dismissed Appealed Still pending

Issues Raised:

 

F. Request for Relief
Plaintiff requests that this Court grant the following relief:

1. Damages in the amount of $

 

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2. Punitive damages in the amount of $_$300,000,000.00 dollars

3. An order requiring defendant(s) to DoD/AF to employ, promote, train Minority IT specs

4. A declaration that DoD/AF has discriminated against minorities WT corrective action
underway

5. Other:

 

Plaintiff demands a trial by jury. XXXX_ Yes No

DECLARATION UNDER PENALTY OF PERJURY

The undersigned declares under penalty of perjury that s/he is the plaintiff
in the above action, that s/he has read the above civil rights complaint and
that the information contained in the complaint is true and correct.

Execu at Anchora on 3/09/2016

YS Location) (Date)
“———*" \ Plante Original Signature)

Gs
_Plaintiff's Ongingt Signature)

8) CRP AD

/) C) (Plaintiffs Original Signature)

 

 

Original Signature of Attorney (if any) (Date)

 

 

 

Attorney's Address and Telephone Number

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